UNITED STWEES COURT OF APPEALS
FOR THE SIXIH CIRCUIT

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U.S. DlSTRi'CT COURT
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No: 05-5882

JIMMIE D. ROSS; PAMELA ROSS

 

Plaintiffs - Appellants
v.
CHASE BANK; AMBROSE, WILSON, GRIMM & DURAND; CHRISTOPHER

CONNER; TELFORD E. FOGERTY, JR.; R-MAC DEVELOPMENT, LLC;
MARTIN RAVIN

Defendants - Appellees

MANDAJE
Puxsuant to the court’s disposition that was filed 1/31/06

the mandate for this case hereby issues today.

A Txue Copy.

COSTS: NO COSTS st:
Filing Fee ........... $ t
Printing ............. $
Total ......... $ Deptty Clerk

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